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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

CHARLES H. SIMMONS,
ADC #135731                                                                PLAINTIFF

V.                         CASE NO. 3:20-CV-138-DPM-BD

RICKY DAVIS, et al.                                                       DEFENDANTS

                                        ORDER

      The Court previously ordered service of process for Defendants Davis, Haverstick,

Westerfield, Sweeney, Dauck, and Davis. (Doc. No. 4) Mr. Simmons has now filed an

amended complaint identifying Gary Musselwhite and Major Young as additional

Defendants. Mr. Simmons has stated claims against Defendants Musselwhite and Young

in his amended complaint; and service for these Defendants is in order.

      The Clerk of Court is directed to prepare summonses for Defendants Musselwhite

and Young. The Marshal is directed to serve each Defendant with a summons and a copy

of the complaint and the amended complaint, with any attachments (Doc. Nos. 2, 5),

without requiring prepayment of fees and costs or security. Service for Defendants

Musselwhite and Young should be attempted through the Arkansas Department of

Correction Compliance Division, P.O. Box 20550, Pine Bluff, Arkansas 71612.

      IT IS SO ORDERED, this 8th day of June, 2020.


                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE
